          Case 3:21-cv-06337-VC Document 28 Filed 05/23/22 Page 1 of 1




                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 SCOTT JOHNSON,
                                                    21-cv-06337-VC
                Plaintiff,

         v.                                         JUDGMENT

 546 HOLDING CO., LLC,
                Defendant.



        The Court, having dismissed this case with prejudice, Dkt. No. 27, now enters judgment
in favor of the defendant and against the plaintiff. The Clerk of Court is directed to close the
case.
        IT IS SO ORDERED.

Dated: May 23, 2022
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
